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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 REJONTAYLOR, eta/.,

                            Plaintiffi,

                    v.                                            1:25-cv-01161
                                                   Civil Case No. - --------

 DONALD J. TRUMP, et al., in their official
 capacities,

                            Defendants.


                          DECLARATION OF KRYSTA KILINSKI

       I, Krysta Kilinski, hereby declare under penalty of perjury as follows:

       1.      My full name is Krysta Marie Kilinski.

       2.      My office address is Hecker Fink LLP, 350 Fifth Avenue, 63rd Floor, New York,

New York, 10118. My office telephone number is (212) 763-0883.

       3.      I am a member of the bar of the State of New York.

       4.      I certify that I have not been disciplined by any bar.

       5.      I am engaged in the full-time practice oflaw within the State ofNew York and have

not been admitted pro hac vice to the bar of this Court on any occasion in the last two years.



 Dated: April 16, 2025                             By:      (0J!~
        New York, New York                               Krysta Kilinski
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